         Case 2:01-cr-00071-MV Document 34 Filed 10/31/01 Page 1 of 3



                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW MEXICO

                          NOTICE OF HEARINGS
     TAKE NOTICE that the Court has scheduled the following
hearings beginning on TUESDAY, NOVEMBER 6, 2001, before the
Honorable Martha Vázquez, U. S. District Judge, at the U. S.
Courthouse, 3rd Floor, 200 E. Griggs Avenue, Las Cruces,
New Mexico:

                             TRAILING DOCKET

8:30 AM Sentencing Hearing - In Chambers
00cr00000 MV USA v. SEALED PROCEEDINGS (Deft Not in Custody)
               pltf atty: Mark D'Antonio
               deft atty: Peter Edwards

                          9:00 AM Plea Hearings

01cr00911 MV USA v. Joe Andres Toro (In Custody)
Interpreter Needed
              pltf atty: Alfred Juarez Perez
              deft atty: Matthew Bradburn

01cr00685 MV USA v. Raymond Patrick Sanchez (In Custody)
          pltf atty: Richard Williams
          deft atty: Dennis J Candelaria

                       9:00 AM Sentencing Hearings

01cr00654 MV USA v. Jorge Ernesto Castellanos-Torres (In Custody)
Interpreter Needed
              pltf atty: Damon P. Martinez
              deft atty: Matthew Bradburn

01cr00071 MV USA v. Michael Estrada (In Custody)
Interpreter Needed
              pltf atty: Terri J Abernathy
              deft atty: Dennis J Candelaria

01cr00328 MV USA v. Raul Ricardo Melendez-Sanchez (In Custody)
Interpreter Needed
              pltf atty: Alfred Juarez Perez
              deft atty: Dennis J Candelaria




Page 1 of 3
         Case 2:01-cr-00071-MV Document 34 Filed 10/31/01 Page 2 of 3



01cr00895 MV USA v. Gerardo Barragan-Valerio (In Custody) Interpreter
Needed
              pltf atty: Damon Martinez
              deft atty: Dennis J Candelaria

00cr01394 MV USA v. Howard Lee Clay (In Custody)
          pltf atty: Gregory Wormuth
          deft atty: Jane Greek

01cr00710 MV USA v. James Richard Royer (In Custody)
          pltf atty: Alfred Juarez Perez
          deft atty: Jane Greek

01cr00722 MV USA v. Benjamin Placencio Ledesma (In Custody) Interpreter
Needed
              pltf atty: James T. Martin
              deft atty: Jane Greek

01cr01049 MV USA v. Salvador Simental-Salazar (In Custody) Interpreter
Needed
              pltf atty: Kenneth J Gonzales
              deft atty: Jane Greek

01cr01060 MV USA v. Terry Wayne Martin (In Custody)
          pltf atty: Terri J Abernathy
          deft atty: Jane Greek

                       1:30 PM Sentencing Hearings

01cr00708 MV USA v. Abel Rangel-Zuniga (In Custody)
Interpreter Needed
              pltf atty: Damon P. Martinez
              deft atty: James F Maus

01cr00942 MV USA v. Jean Gorman Espino (In custody)
          pltf atty: Peter S. Levitt
          deft atty: James F Maus

01cr00938 MV USA v. Fidel Leon-Carrasco (In Custody)
Interpreter Needed
              pltf atty: Damon P. Martinez
              deft atty: James F Maus

99cr01439 MV USA v. Barbara Chavez (In Custody)
          pltf atty: Renee Lyn Camacho
          deft atty: James F. Maus

01cr00713 MV USA v. Carlos Rodriguez-Sandoval (In Custody) Interpreter
Needed
              pltf atty: Damon P. Martinez
              deft atty: Peter J. Giovannini

Page 2 of 3
         Case 2:01-cr-00071-MV Document 34 Filed 10/31/01 Page 3 of 3



01cr00771 MV USA v. Alfred Casavantes-Murillo (In Custody) Interpreter
Needed
              pltf atty: Kenneth J Gonzales
              deft atty: Paul J Rubino

01cr01207 MV USA v. Antonio Ruiz-Acosta (In Custody)
Interpreter Needed
              pltf atty: Richard Williams
              deft atty: Richard C. Cauble

01cr00926 MV USA v. Pepe Aguilar-Ortiz (In Custody)
Interpreter Needed
              pltf atty: Alfred Perez
              deft atty: Richard C. Cauble




                                                                  ROBERT M. MARCH, Clerk


                                                                  _____________________________
                                                                  By:   Theresa Delgado
                                                                        Courtroom Deputy

              Please direct all inquiries to:    Theresa Delgado
                                                 Courtroom Deputy to Judge Vázquez
                                                 Telephone: (505) 992-3826
                                                 (505) 527-1440 - Third Floor in Las Cruces


                          A true copy of this notice/order was served--via mail or
              electronic means--to counsel of record as they are shown on the Court’s docket.




Page 3 of 3
